




02-11-329-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
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NO. 02-11-00329-CV

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  In the Interest of C.D., A Child
  
  
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FROM THE 233rd
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
November 21, 2011, we notified appellant that the trial court clerk responsible
for preparing the record in this appeal informed the court that payment
arrangements had not been made to pay for the clerk’s record as required by
Texas Rule of Appellate Procedure 35.3(a)(2).&nbsp; See Tex. R. App. P.
35.3(a)(2).&nbsp; We stated that we would dismiss the appeal for want of prosecution
unless appellant, within fifteen days, made arrangements to pay for the clerk’s
record and provided this court with proof of payment.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because
appellant has not made payment arrangements for the
clerk’s record, it is the opinion of the court that the appeal should be
dismissed for want of prosecution.&nbsp; Accordingly, we dismiss the appeal.&nbsp; See
Tex. R. App. P. 37.3(b), 42.3(b).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee’s
motion to dismiss appeal is denied as moot.

Appellant
shall pay all costs of the appeal, for which let execution issue.

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PER CURIAM

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PANEL:&nbsp;
GABRIEL,
J.; LIVINGSTON, C.J.; and DAUPHINOT, J.

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DELIVERED:&nbsp;
December 22, 2011









[1]See
Tex. R. App. P. 47.4.







